1 The amended motion for rehearing on application for writ of error, together with a supplemental argument *Page 148 
in support thereof, filed by E. G. Senter, Esq., one of counsel for plaintiffs in error, contain disrespectful language attacking the character and motives of a district judge and the judges of the Court of Civil Appeals who passed upon this case in a manner having no bearing on the legal questions here involved and without anything in the record to justify such accusations. For this reason the motion, with its exhibits and supporting argument, is stricken from the files and the Clerk of this Court is ordered to return them to the author.
2 In order that no injustice may be done to plaintiffs in error an amended motion for rehearing on the application for writ of error will be given due consideration by this Court if they will, within ten days, prepare and file such a motion couched in language conformable to the rules of this Court.